Case 2:03-cr-20228-.]DB Document 49 Filed 05/23/05 Page 1 of 2 Page|D 41
at
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE..¢ T` "T-‘ ` `
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,

Plaintiff,
vs. Cr. NO. 03-20228-B
JACQUELINE CAROL YAGAR,

Defendant.

 

RECOMl\/IENDATION OF FURLOUGH

 

For good cause Shown, it is recommended that the above named defendant be granted a

furlough in Order to facilitate rcc-sentencing Should a furlough be granted, the Sentencing hearing

in this matter will hereby be SET for deduesday, gay 25, 2005, at 3;00 p_m_

11 is 30 REC()MMENDEI), this the ?_Z»_K»'<' day OfMay, 2005.

 

 

0N0 BLE J. DANIEL BR`EEN
IT sTATES I)ISTRICT COURT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:03-CR-20228 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

